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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA



                                                      : Case No. 9:16-cv-81394-KAM
 STEPHANIE SUAZO,                                     :
            Plaintiff                                 : CIVIL ACTION
                                                      :
           v.                                         :
                                                      :
 CREDIT MANAGEMENT, LP,                               :
           Defendant                                  :
                                                      :


                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

           IT IS HEREBY STIPULATED AND AGREED TO by the Plaintiff and Plaintiff’s

 attorney that the above entitled action against Defendant shall be and hereby is dismissed with

 prejudice and on the merits, without costs, or disbursements, or attorney’s fees to any party, and

 that judgment of dismissal with prejudice may be entered in the above entitled action pursuant

 hereto.

 Dated: October 14, 2016                                      Respectfully Submitted,

                                                              /s/Michael Jay Ringelheim
                                                              Michael Jay Ringelheim
                                                              RC Law Group, PLLC
                                                              285 Passaic Street
                                                              Hackensack, NJ 07601
                                                              mjringelheim@rclawgroup.com
                                                              Tel. 201-282-6500 ext. 254
                                                              Fax 201-282-6501
                                                              Florida Bar No.: 93291
                                                              Attorney for Plaintiff
